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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

vs.                              NO. 4:12CR00022-002 SWW

JOHNATHAN WHITELOW                                                         DEFENDANT

                                              ORDER

       The above entitled cause came on for hearing on government’s superseding petition [doc

#62] to revoke the probation previously granted this defendant in the United States District Court

for the Eastern District of Arkansas. Based upon the admissions of defendant, testimony and

statements on the record, the Court found that defendant has violated the conditions of probation

without just cause.

       IT IS THEREFORE ORDERED AND ADJUDGED that the probation previously granted

this defendant, be, and it is hereby, revoked.

       IT IS FURTHER ORDERED that defendant shall serve a term of imprisonment of SIX (6)

MONTHS in the custody of the Bureau of Prisons. The Court recommends that defendant be

incarcerated at FCI Forrest City, Arkansas.

       There will be NO supervised release to follow.

       The defendant shall report to the U. S. Marshal Service for transport to designated facility

by noon on Monday, September 21, 2015.

       IT IS SO ORDERED this 20th day of August 2015.

                                                    /s/Susan Webber Wright

                                                    United States District Judge
